         Case
          Case1:21-cr-00399-DLB
               1:21-cr-00399-DLB Document
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA                         *
                                                  *
        v.                                        *   CRIMINAL NO. DLB-21-399
                                                  *
 ROY C. McGRATH,                                  *
                                                  *
               Defendant.                         *
                                                  *
                                                  *
                                              *******

                                  NOTICE OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of court

endorsed hereon, the United States Attorney for the District of Maryland hereby dismisses the

superseding indictment pending against defendant Roy McGrath.


                                             Erek L. Barron
                                             United States Attorney
                                                                 2023.09.26 16:41:35 -04'00'
                                     By:     ___________________________
                                                                2023.006.20320

                                             Aaron S.J. Zelinsky
                                             Assistant United States Attorney

       Leave of Court is granted for the filing of the foregoing dismissal.


September 29, 2023
______________                __________________________________
Date                          Deborah L. Boardman
                              United States District Judge


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Advice to U.S. Marshal: Defendant is not in custody.
